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DEFENDANT’S STATEMENT OF UNDERSTANDING PURSUANT TO
Lafier v. Cooper, 132 S.Ct 1376 (2012) and
Missouri v. Frye, 132 S.Ct. 1399 (2012).

1, Elzabetn Yophitt , acknowledge each of the following points:

1. The government has offered me the opportunity to enter a truthful guilty plea to:

Counts 1-5 2 Obreigiing Conrealled Substances by Feud Al U.s.c.§ 343G)(3)

2. It ls my right to either accept or reject the proposal. itis also my right to change
my plea to guilty without any agreement with the government.

3. If | were to accept the government's proposal to truthfully plead guilty, there may
be terms and conditions more favorable to me than if ! were convicted at trial.

4. If were to enter a truthful plea of guilty, | understand that my Sentencing
Guidelines would likelybe © to © months.

5. If] were to proceed to trial and be convicted as charged, | understand that my
Sentencing Guidelines would likely be © to (> months.

6. | know that a Guidelines Range is only a starting point in the sentencing process,
so a sentence could be within, above, or below the Range in most cases.

7. | have had a full opportunity to talk with my attorney about my decision.

8. My attorney has explained the law and the pertinent facts known to him/her.

9. | know that some kinds of evidence are not required to be disclosed to me until
presented at trial, so | probably have not seen and/or heard every bit of the
evidence that may be presented against me in trial.

10.! am sure that | have a clear understanding of my situation legally and factually.

11. Having fully considered all the foregoing JT IS MY DECISION TO REJECT THE |

OFFER OF A NEGOTIATED GUILTY PLEA even though it may have terms and
conditions that are more favorable to me than if | were to be convicted at trial.

Date: Pita| W

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efendant’s signature
